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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NEW YORK




          UNITED STATES OF AMERICA      *                     Case No. 18-CR-204(NGG)
                                        *
                                        *                     Brooklyn, New York
                                        *                     April 20, 2018
               v.                       *
                                        *
          ALLISON MACK,                 *
                                        *
                         Defendant.     *
                                        *
          * * * * * * * * * * * * * * * *

                    TRANSCRIPT OF CRIMINAL CAUSE FOR ARRAIGNMENT
                       BEFORE THE HONORABLE CHERYL L. POLLAK
                           UNITED STATES MAGISTRATE JUDGE

          APPEARANCES:

          For the Government:                        MOIRA KIM PENZA, ESQ.
                                                     TANYA HAJJAR, ESQ.
                                                     Asst. United States Attorney
                                                     United States Attorney’s Office
                                                     271 Cadman Plaza
                                                     Brooklyn, NY 11201


          For the Defendant:                         SEAN BUCKLEY, ESQ.
                                                     WILLIAM McGOVERN, ESQ.
                                                     Kobre & Kim, LLP
                                                     800 Third Avenue
                                                     New York, NY 10022




          Proceedings recorded by electronic sound recording,
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  1             (Proceedings commenced at 4:27 p.m.)

  2                    THE CLERK:     This is criminal cause for arraignment

  3       on indictment, USA vs. Allison Mack.           The case number is 18-

  4       CR-204.    Counsel, please state your name for the record,

  5       starting with the government.

  6                    MS. PENZA:      Moire Kim Penza and Tonya Hajjar for

  7       the United States.        Good afternoon, Your Honor.

  8                    THE COURT:     Good afternoon.

  9                    MR. BUCKLEY:     Yes.     Good afternoon, Your Honor.

10        Sean Buckley and William McGovern, of the law firm Kobre &

11        Kim, LLP, on behalf of Ms. Mack.

12                     THE COURT:     All right.     Good afternoon.

13                     Ms. Mack, I take it that you understand English.

14                     THE DEFENDANT:     Yes.

15                     THE COURT:     Okay.    If at any point something is

16        said that you don't understand, please let me know, okay?

17        All right.

18                     Now, you have the right to remain silent.          Anything

19        you say, except what you say to your attorneys, can be used

20        against you.

21                     Do you understand that?

22                     THE DEFENDANT:     I do.

23                     THE COURT:     Okay.

24                     THE DEFENDANT:     Now my understanding is that you

25        have retained counsel for purposes of these proceedings


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  1       today.

  2                  I want you to understand that if you cannot afford

  3       to pay for counsel, the court will appoint an attorney to

  4       represent you.

  5                  You have the right to be represented by an attorney

  6       from this point forward in connection with these charges.

  7                  Do you understand that?

  8                  THE DEFENDANT:     I do.

  9                  THE COURT:    All right.

10                   You're here today because the grand jury has

11        returned an indictment charging you with three counts.

12                   The first count charges you with knowingly and

13        intentionally recruiting, enticing, harboring, transporting,

14        providing, obtained advertising, maintaining, patronizing and

15        soliciting one or more persons, specifically John Doe's 1 and

16        2, individuals whose identities are known to the grand jury,

17        in and affecting interstate commerce and attempting to do the

18        same, and benefitting and attempting to benefit financially

19        and by receiving a thing of value from participation in a

20        venture which had engaged in such acts knowing that means of

21        force, threats of force, fraud and coercion and a combination

22        of such means would be used to cause these people to engage

23        in one or more commercial sex acts.

24                   The second count charges you with a conspiracy to

25        engage in sex trafficking, and the third count charges you


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  1       with conspiring to commit forced labor.

  2                  Do you understand what the charges are?

  3                  THE DEFENDANT:     Yes.

  4                  THE COURT:     Okay.   Counsel, have you reviewed the

  5       charges with your client and advised her of her rights?

  6                  MR. BUCKLEY:     Yes, we have, Your Honor.      We've

  7       reviewed them briefly with her in the cell block.

  8                  THE COURT:     Okay.   Do you wish me to read the

  9       charges aloud at this time?

10                   MR. BUCKLEY:     No, we waive the public reading, Your

11        Honor.

12                   THE COURT:     And is she prepared to enter a plea

13        this afternoon?

14                   MR. BUCKLEY:     Yes, she enters a plea of not guilty.

15                   THE COURT:     To all three counts.

16                   MR. BUCKLEY:     Yes, Your Honor.

17                   THE COURT:     All right.    Do we have a date for Ms.

18        Mack to appear before Judge Garaufis in this case?

19                   MS. PENZA:      Yes, Your Honor.     The initial

20        appearance before Judge Garaufis will be May 3rd at 10:30

21        a.m.

22                   THE COURT:     Okay.   All right.    So now we need to

23        deal with the issue of bail or detention.

24                   What's the government's position with respect to

25        bail for Ms. Mack?


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  1                  MS. PENZA:      Your Honor, the government's position

  2       is that the defendant poses a danger to the community and a

  3       risk of flight, but the government's position is that a

  4       substantial bail package, commensurate with the defendant's

  5       access to funds, would be sufficient to mitigate the risk to

  6       the community, including intimidation of witnesses and the

  7       risk of non-appearance.

  8                  If I may go into a little more detail, Your Honor?

  9                  THE COURT:    Go ahead.

10                   THE DEFENDANT:     Based on the charges alone, which

11        are detailed in the letter we filed with the court, Ms. Mack

12        was one of the top members of a highly organized scheme which

13        was designed to provide sex to her co-defendant, who, I will

14        add, Your Honor, is currently incarcerated at the MDC, for

15        her own benefit and for her own status with the defendant.

16                   Under the guise of female empowerment, Your Honor,

17        she starved women until they fit her co-defendant's sexual

18        ideal, and she targeted vulnerable women in order to do that.

19                   There's also, Your Honor, a true risk of danger

20        here in the form of witness intimidation.

21                   She has, based on the structure, a number of what

22        have been termed here slaves underneath her, who have pledged

23        vows of obedience and who literally have collateral.           She

24        literally has collateral on a number of the people who we

25        view to either be victims or potential witnesses in this


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  1       case. And she obviously has an ability to manipulate people

  2       and to coerce them, based on the charges here.

  3                   In addition, Your Honor, we submit that the

  4       defendant is a risk of flight.       She is facing a 15-year

  5       mandatory minimum charge.

  6                   She has a lack of ties to the Eastern District.

  7       She has apparent access to enormous personal wealth beyond

  8       what we understand her to currently have access to, based on

  9       what Pretrial has reported.

10                    At the time when her co-defendant was arrested she

11        was present.     It was a villa that was costing $10,000 a week.

12        She has access to high ranking members of NXIVM, who have

13        enormous personal wealth themselves.

14                    And, in addition, at this point, we understand that

15        there's a significant legal retainer and the government thus

16        far has not been provided with information as to how that

17        legal retainer is being paid.

18                    So given those concerns, Your Honor, at this point

19        we have not been presented with a potential bail package from

20        the defendant.

21                    We would want the opportunity to interview any

22        potential suretors to make sure they are in no way connected

23        to NXIVM.    That they would have the requisite moral suasion

24        over the defendant and to adequately assess her own wealth so

25        that the package is commensurate to the funds with which she


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  1       has access -- to which she has access.

  2                    THE COURT:     Okay.   All right.   Before I hear from -

  3       - I assume you want to make a bail application this

  4       afternoon?

  5                    MR. BUCKLEY:     Yes, Your Honor.

  6                    THE COURT:     All right.   So before I hear from you I

  7       asked, in order to expedite these proceedings, that Pretrial

  8       Services provide us with an oral report, rather than wait for

  9       them to type up something.

10                     So we have Pretrial Services officers here.         Can

11        you give us a report based on your interview?

12                     MR. MOORE:     Sure.   My name is Ramon Moore.     I spoke

13        to the defendant and she advised that she was born -- she's

14        35 years old and she was born in Preetz, Germany, to the

15        union of Mindy and John Mack.

16                     She relocated to the United States at two years old

17        and had resided in California with her parents for 16 years

18        and relocated to Vancouver, Canada for ten years, and lived

19        there alone.

20                     She just moved back to New York.       She moved back to

21        New York ten years -- I'm sorry.         She moved back to New York

22        and she has been living in New York since December of 2017 at

23        an apartment with her wife, who is Nicole Klein.

24                     She stated that she has two siblings who both

25        reside in California.        She stated that she has been married


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  1       to Ms. Klein since February of 2017 and that she's a green

  2       card holder.

  3                   She stated that Ms. Klein is a self-employed

  4       writer.    Her income is contingent upon the projects that she

  5       receives, but makes approximately a thousand to $2,500 a

  6       month. She stated that she has no children.

  7                   The highest level of education she's received is a

  8       high school diploma from Los Alamedas High School in Los

  9       Alamedas, California.

10                    She stated that she is employed as an actress.          She

11        stated that she receives approximately $70,000 in residual

12        payments from the Smallville season, and she signs autographs

13        on the weekend twice per year and receives about $10,000 from

14        that.

15                    She stated that she also owns a residence in

16        Clifton Park, New York that's valued at $220,000 that she

17        rents out and receives $500 a month for.

18                    She stated that she's also a part-time actress.

19        She teaches acting skills part time.          She's been doing that

20        since 2016 and she makes approximately $100 a hour.

21                    She stated that she has two bank accounts and a

22        profit sharing plan.     She -- the only asset that she has is

23        the house located in Clifton Park.        She stated that she has

24        no physical or mental health issues, as well as no substance

25        abuse history.


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  1                  And she stated that if she's released, she can

  2       continue to reside at her apartment in Brooklyn, New York.

  3                  Also she has a passport that was seized by the FBI

  4       this morning.     She stated that she traveled to Mexico for

  5       three weeks in March of 2018 and over the last five years

  6       she's traveled regularly to Europe for business and leisure.

  7       And that's about it.

  8                  THE COURT:     All right.    Thank you.

  9                  MR. BUCKLEY:     You're welcome.

10                   THE COURT:     All right.    Counsel?

11                   MR. BUCKLEY:     Yes, Your Honor.       If I may, just

12        briefly I'll start with the second point the government made

13        first, which is this client does not pose any risk of flight.

14                   Just a couple of facts that I would like the court

15        to be aware of.

16                   The first is when Mr. Raniere, the co-defendant,

17        was arrested in Mexico, Ms. Mack was also in Mexico at the

18        time.   She was aware of the investigation.          She was aware of

19        the possibility that she, too, may be charged.

20                   And in spite of that, she returned to the United

21        States. But not only did she return to the United States,

22        Your Honor, once she retained us as counsel she authorized us

23        to reach out to the United States Attorney's Office to inform

24        them that we had been retained.        We affirmatively reached

25        out.


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  1                   And then we contacted the U.S. Attorney's Office

  2       two days prior to her anticipated return to the United States

  3       to try to find out whether she was going to be arrested and

  4       that this would be a surrender, or whether she was going to

  5       be permitted to return of her own accord.          We were provided

  6       no assurances of that.

  7                   Notwithstanding the lack of assurances, Ms. Mack

  8       still returned to the United States on two days' notice to

  9       the government.

 10                   She resides here in the Eastern District of New

 11       York.     She resides at a residence located not far from here

 12       and indeed when she was arrested earlier today, they arrested

 13       her at that residence.

 14                   Those facts, Judge, we think strongly undercut any

 15       argument here that this defendant poses a risk of flight.

 16       But those aren't the only facts for the court to consider.

 17                   Ms. Mack has substantial ties to the United States.

 18       She is a U.S. citizen.      Her parents live her in the United

 19       States.     She has other family who reside in the United

 20       States.     She owns property in the Northern District of New

 21       York.     She rents her property here in the Eastern District.

 22                   All of her finances and assets are located here in

 23       the United States.      She doesn't possess any foreign

 24       properties or assets and her professional career is here.

 25                   In addition to those factors, those strong ties not


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  1       just to this community but to the United States as a whole,

  2       Ms. Mack has every incentive to face the charges.

  3                   As I noted, she returned voluntarily with no

  4       assurances about whether she would be arrested or not with

  5       knowledge that this investigation has been launched and with

  6       knowledge of the charges that were levied against Mr.

  7       Raniere.

  8                   The government in its submission points to the

  9       strength of its case. I'm not going to belabor it, Judge,

 10       given that it's a Friday afternoon, but the allegations

 11       contained in the indictment are only that.          They are

 12       allegations.

 13                   The hard facts establish that Ms. Mack is not a

 14       risk of flight.     To the extent there is concern about her

 15       prior travel, that concern is readily ameliorated by the

 16       surrender of her passport and an agreement by Ms. Mack that

 17       she will not apply or seek new documents.

 18                   And even were she to leave, she's a U.S. citizen,

 19       Judge.     A red notice would follow her and subject her to

 20       arrest anywhere in the world and return here.

 21                   THE COURT:    Can I just interrupt for a second,

 22       because I thought I misheard the pretrial officer.             I thought

 23       he said something about a green card.

 24                   MR. MOORE:      Yes.   She stated that her wife --

 25       she's a green card holder.


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  1                   THE COURT:     Her wife is.

  2                   MR. MOORE:     Yes.

  3                   THE COURT:     Okay.   That's what I misunderstood.

  4       Okay.   Go ahead.

  5                   MR. BUCKLEY:     Thank you, Judge.

  6                   So against all of those facts, Judge, there simply

  7       is not a legitimate risk of flight, let alone a risk of

  8       flight that cannot be addressed through the imposition of

  9       conditions.

 10                   Ms. Mack is prepared to sign a personal

 11       recognizance bond today to ensure her appearance.           She is

 12       prepared to have additional co-signers come to co-sign that

 13       bond.

 14                   And if the court believes it's necessary, she is

 15       prepared to have that bond secured by property, as well as by

 16       -- not just her property, but property from her parents.

 17                   So when the court considers that, there's simply no

 18       need to detain this defendant through the weekend to permit

 19       the satisfaction of those conditions.

 20                   The only argument advanced by the government about

 21       the need for detention is a speculative argument that she may

 22       threaten others or try to tamper with witnesses.

 23                   But her detention through the weekend or being

 24       released next week in no way addresses that.          It is a

 25       speculative concern.


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  1                    She has demonstrated herself not to be a risk of

  2       flight.    She's prepared to sign a bond and we will be

  3       prepared to satisfy any additional conditions Your Honor

  4       believes are necessary within a reasonable time, whether it

  5       be ten days, or 14 days, to allow us to secure the necessary

  6       documents for posting of additional property.

  7                    So unless the court has any other questions, or

  8       unless my colleague, Mr. McGovern, would like to add

  9       anything, we respectfully submit that the defendant should be

 10       released today on a personal recognizance bond, secured by

 11       her own signature with some period of time to satisfy the

 12       additional conditions that Your Honor seeks.

 13                    THE COURT:   All right.    What's the government's

 14       view here?

 15                    MS. PENZA:    Your Honor, the government's position

 16       is that a personal recognizance bond in a case involving a

 17       15-year mandatory minimum sentence is wholly inappropriate.

 18                    Your Honor, just to raise a few points, the

 19       government is not held to the defendant's offer through her

 20       attorneys to self surrender to law enforcement.

 21                    The investigation involves a number of witnesses

 22       and it's the government's first priority not to compromise

 23       the integrity of the investigation.

 24                    Moreover, at the time when she did fly into the

 25       country, at that time she had no phone on her and no computer


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  1       on her, which we -- the government submits has been a pattern

  2       of members of the NXIVM community coming into the country

  3       without those devices to avoid law enforcement seizing those.

  4                   Additionally, based on that argument alone, the

  5       defendant and her attorney have been aware for some time

  6       about the possibility of her arrest and they should have

  7       identified and secured sureties.

  8                   So given the nature -- unless Your Honor wants to

  9       hear more, the government's position is that what they are

 10       proposing today is wholly unsatisfactory and the government

 11       would urge that if Ms. Mack does wish to be released next

 12       week, that we're not talking ten, 14 days before they put a

 13       package together.

 14                   The government needs to be made aware of what her

 15       access to assets is so that we can come up and agree with, if

 16       possible, with defense counsel, about a package that will

 17       adequately protect the community and assure Ms. Mack's

 18       appearance in court.

 19                   THE COURT:    Counsel, there seems to be some

 20       discrepancy between the information the government the

 21       provided in your initial proffer and the information provided

 22       by defendant's counsel as to her assets.

 23                   You indicated, I believe, in the initial argument

 24       that you thought she had substantial assets. They're telling

 25       me that all she owns is this $200,000 property in Clifton,


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  1       New York, and she makes very little in terms of salary, from

  2       I guess the residuals from her acting job previously, and

  3       some current acting teaching that she does.

  4                   So I'm a little confused as to what exactly is the

  5       status of her resources here.

  6                   MS. PENZA:     Well, Your Honor, that's -- excuse me.

  7       Your Honor, that is one of our concerns.         We do -- the

  8       government does not have a fair picture right now of her

  9       access to funds.

 10                   The very fact of Kobre & Kim's being retained alone

 11       indicated that there was a very high retainer.          We understand

 12       that there is a high retainer and our concern is that that

 13       means there are NXIVM contacts, these high net worth

 14       individuals that we've talked about who are providing Ms.

 15       Mack with funds and whom she would have access to funds from.

 16                   So that's why in terms of determining an

 17       appropriate package, we need to flesh that out, Your Honor.

 18                   MR. BUCKLEY:     If I may, Your Honor.     It's an absurd

 19       argument that we're taking funds from people related to

 20       NXIVM.    The government has no real right to inquire into the

 21       source of our funds at this stage, but -- nor how much she's

 22       retained Kobre & Kim for.       I think that argument is, frankly,

 23       ridiculous.

 24                   MS. PENZA:     Your Honor --

 25                   THE COURT:     Well, I considered --


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  1                   MS. PENZA:     I'm sorry.

  2                   THE COURT:    -- the government's argument and I

  3       considered defendant's arguments as well.

  4                   Honestly, I don't believe this bail package, as

  5       offered today, is sufficient, given the nature of the

  6       charges, the 15-year mandatory minimum, a personal

  7       recognizance bond not secured by anything other than the

  8       defendant's own signature is not, in my view, sufficient.

  9                   Now that's not to say that there might not be a

 10       package that you could put together, but I am not going to

 11       release her this evening on her own signature without

 12       somebody coming in and taking responsibility and posting

 13       significant property to secure this.

 14                   The government's allegations in this case involve a

 15       far reaching conspiracy and, obviously, the defendant is

 16       presumed to be innocent until that is proven, but these are

 17       serious charges.

 18                   And while you've made an impassioned plea that she

 19       is not a risk of flight, I respectfully disagree.           She may

 20       not have realized that she was looking at 15 years in jail.

 21                   So that being said, I'm going to enter an order of

 22       detention at this time.       If you would like to come back on

 23       Monday with a more put together package, with suretors and

 24       property, and give the government notice so that they can

 25       interview those individuals who you are offering as suretors,


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  1       then that's fine.

  2                   If you don't think you can put it together by

  3       Monday, I'll enter a permanent order of detention at this

  4       time and I'll mark it with leave for you to come back

  5       whenever you're ready.

  6                   MR. BUCKLEY:     Thank you, Your Honor.

  7                   Just to clarify two points though.        One, we are

  8       prepared to post both the property in Albany and her -- we

  9       have been in contact with her mother, who will be one of the

 10       suretors, as well as her father, who will be the other

 11       suretor, and they are prepared to post her childhood home in

 12       California, which they also own.

 13                   THE COURT:     Right.    But if you came here all the

 14       time, you would know that before I'm going to release anybody

 15       on that, I need to see the mortgage, I need to see the deeds.

 16       I need to see the suretors.          And I don't have any of that

 17       today.

 18                   So that's why I'm saying these may be appropriate

 19       securities for her bail, but your package is -- your ducks

 20       are not in a row, if you will.

 21                   So I'm telling you I'm not going to release her

 22       tonight, but you certainly can come back whenever you feel

 23       you're ready to do that.

 24                   MR. BUCKLEY:     Okay.    Thank you, Your Honor.

 25             (Counsel and clerk confer.)


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  1                   THE COURT:     Okay.   Is there anything else this

  2       evening?

  3                   MS. PENZA:      Your Honor, the -- Judge Garaufis has

  4       given us permission to seek an order of excludable delay.

  5                   The government intends before the next status

  6       conference to begin the process of producing discovery and we

  7       also would entertain any initial plea negotiations that the

  8       defendant would like to have.

  9                   So in light of that we would ask that time be

 10       excluded until the May 3rd conference.

 11                   THE COURT:     Counsel, is that what your client

 12       wishes to do?

 13                   MR. BUCKLEY:     We have no objection, Your Honor.

 14                   THE COURT:     Okay.   Have you discussed it with Ms.

 15       Mack?

 16                   MR. BUCKLEY:     We did.   Yes, Your Honor.

 17                   THE COURT:     You've explained it.

 18                   MR. BUCKLEY:     Yes, Your Honor.

 19                   THE COURT:     So Ms. Mack, I want to make sure you

 20       understand what we're talking about.

 21                   Under the Constitution and the laws of the United

 22       States you're entitled to a speedy and public trial by jury

 23       commencing within 70 days of the filing of the indictment.

 24       That's the charge we just talked about a minute ago.

 25                   If the government fails to bring you to trial


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  1       within that requisite time period, that could later be the

  2       basis for you to move to dismiss the charges against you.

  3                   What the government has indicated to me is they

  4       would like me to exclude the time from today until --

  5                   MS. PENZA:      May 3rd, Your Honor.

  6                   THE COURT:     -- May 3rd, when you'll see the

  7       district judge on this case, because during that period of

  8       time the government's going to be providing your attorneys

  9       with the evidence that they have collected regarding the

 10       charges here, and your attorneys and the government are going

 11       to have a conversation so see if the case can be resolved

 12       without the need for a trial.

 13                   And it's difficult to both engage in plea

 14       negotiations and also prepare for trial at the same time.

 15                   Do you understand all of that?         Speak up.

 16                   THE DEFENDANT:     Yes.

 17                   THE COURT:     Okay.   Have you discussed this with

 18       your attorneys?

 19                   THE DEFENDANT:     Yes.

 20                   THE COURT:     Okay.   Do you wish me to enter this

 21       order of excludable delay while these plea discussions go

 22       forward?

 23                   THE DEFENDANT:     Yes.

 24                   THE COURT:     Okay. I think --

 25                   MR. BUCKLEY:     So you need to sign.


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                                                                                   20

  1             (Pause.)

  2                   THE COURT:     All right. I'm going to approve the

  3       order to excludable delay finding that it is in the best

  4       interest of both the public and the defendant while plea

  5       negotiations continue.

  6                   All right.     Anything else?

  7                   MS. PENZA:      Not from the government, Your Honor.

  8                   MR. BUCKLEY:     No, Your Honor.

  9                   MS. PENZA:     Thank you.

 10                   THE COURT:     All right.   Thank you very much.

 11             (Proceedings concluded at 4:52 p.m.)

 12

 13             I, CHRISTINE FIORE, court-approved transcriber and

 14       certified electronic reporter and transcriber, certify that

 15       the foregoing is a correct transcript from the official

 16       electronic sound recording of the proceedings in the above-

 17       entitled matter.

 18

 19

 20                                                April 23, 2018

 21       Christine Fiore, CERT

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